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  IT IS ORDERED as set forth below:



  Date: September 3, 2019
                                                      _____________________________________
                                                                  James R. Sacca
                                                            U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                            )    CHAPTER 13
HOWARD ANTHONY KING                               )    CASE NUMBER A17-55046-JRS
      DEBTOR                                      )


    CONSENT ORDER ON TRUSTEE’S MOTION TO DISMISS FOR FAILURE TO
                 PROVIDE TAX RETURNS OR REFUNDS

       On August 20, 2019 at 10:00 a.m., the Court held a hearing on the Trustee’s Motion to

Dismiss based upon the Debtor’s failure to remit tax return or tax refund to the Chapter 13

Trustee. It further appears to the Court that the Debtor through counsel, agreed at the call of the

Court’s calendar to a consent agreement. For cause shown, IT IS HEREBY

        ORDERED, that the Debtor shall remit their Federal Income tax return or proof of an

Income Tax Extension to the Trustee by May 15th of each calendar year for the remaining years

the case is pending. If an extension is provided then the Debtor must provide the actual return to

the Trustee by the extension deadline to be in compliance with the terms of this Order.
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Additionally, unless further Court order allows retention, the Debtor shall pay any tax refund for

the years of the Debtor’s Applicable Commitment Period or any other agreed upon years to the

Trustee by May 15th of each calendar year. If the Debtor fails to provide either the tax refund or

tax return to the Trustee by May 15th or the date of the granted extension then the case shall be

dismissed without further hearing upon receipt of the Chapter 13 Trustee's Supplemental Status

Report requesting an Order of Dismissal. The Debtor may also submit notice to the Trustee that

they are not required to file Federal Income Tax Returns or notice to the Trustee if the

anticipated refund has not been received by the Debtor by the May 15th due date. Prior to

recommending dismissal the Trustee shall contact the Debtor's attorney via email to alert them of

the default at least 10 business days prior to recommending dismissal by supplemental report.

Additionally, a letter will be sent to the Debtor each calendar year requesting a copy of the tax

return.

          IT IS FURTHER ORDERED, that, based on the Debtor’s expenditure of his 2018 tax

refund of $3,832.00, the additional funds remitted via the Debtor’s employer of $3,135.00 shall

be applied as a tax refund with a resulting increase of Debtor’s plan base.

          The Clerk of the Court is directed to serve this Order on the parties included in the

attached distribution list.

                                       END OF DOCUMENT

CONSENTED TO BY:

____/s/____________________                             ____/s/____________________
Maria C. Joyner,                                        Talitha Fleming,
Attorney for Chapter 13 Trustee                         Attorney for Debtor
GA Bar Number 118350                                    GA Bar No. 101022
303 Peachtree Center Ave., NE                           T. Fleming & Associates, LLC
Suite 120                                               4751 Best Road, Suite 180
Atlanta, GA 30303                                       Atlanta, GA 30337
(678) 992-1201                                          Signed by Maria C. Joyner
                                                        with express permission
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                                 DISTRIBUTION LIST

Case No.: A17-55046-JRS


Debtor:
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Conyers, GA 30012

Debtor Attorney:
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Atlanta, GA 30337

Chapter 13 Trustee:
Nancy J. Whaley
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Atlanta, GA 30303
